                                           Case 4:19-cv-07123-PJH Document 1-2 Filed 10/29/19 Page 1 of 1
JS-CAND 44 (Rev. 07/19)
                                                                                      CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                  DEFENDANTS
 WHATSAPP INC., a Delaware corporation, and FACEBOOK, INC.,                                                        NSO GROUP TECHNOLOGIES LIMITED and Q CYBER
 a Delaware corporation                                                                                            TECHNOLOGIES LIMITED
   (b) County of Residence of First Listed Plaintiff                                                               County of Residence of First Listed Defendant ISRAEL
         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                          (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                    NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                         Attorneys (If Known)
 Cooley LLP, Travis LeBlanc (251097)
 101 California Street, 5th floor, San Francisco, CA 94111
 415-693-2000
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                       and One Box for Defendant)
     1 U.S. Government Plaintiff               3     Federal Question                                                                        PTF        DEF                                             PTF       DEF
                                                     (U.S. Government Not a Party)                      Citizen of This State                    1        1       Incorporated or Principal Place          4         4
                                                                                                                                                                  of Business In This State
     2 U.S. Government Defendant                4    Diversity                                          Citizen of Another State                 2        2       Incorporated and Principal Place           5         5
                                                    (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State
                                                                                                         Citizen or Subject of a                 3        3       Foreign Nation                             6         6
                                                                                                         Foreign Country
IV.       NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                                       TORTS                                    FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
     110 Insurance                           PERSONAL INJURY                      PERSONAL INJURY                     625 Drug Related Seizure of         422 Appeal 28 USC § 158           375 False Claims Act
     120 Marine                              310 Airplane                          365 Personal Injury – Product          Property 21 USC § 881           423 Withdrawal 28 USC             376 Qui Tam (31 USC
                                                                                       Liability                      690 Other                               § 157                             § 3729(a))
     130 Miller Act                          315 Airplane Product Liability
                                             320 Assault, Libel & Slander          367 Health Care/                          LABOR                        PROPERTY RIGHTS                    400 State Reapportionment
     140 Negotiable Instrument                                                         Pharmaceutical Personal
                                             330 Federal Employers’                                                   710 Fair Labor Standards Act        820 Copyrights                    410 Antitrust
     150 Recovery of                                                                   Injury Product Liability
                                                 Liability                                                            720 Labor/Management                830 Patent                        430 Banks and Banking
         Overpayment Of                                                            368 Asbestos Personal Injury
         Veteran’s Benefits                  340 Marine                                                                   Relations                                                         450 Commerce
                                                                                        Product Liability                                                 835 Patent–Abbreviated New
                                             345 Marine Product Liability         PERSONAL PROPERTY                   740 Railway Labor Act                   Drug Application              460 Deportation
      151 Medicare Act
                                             350 Motor Vehicle                     370 Other Fraud                    751 Family and Medical                                                470 Racketeer Influenced &
      152 Recovery of Defaulted                                                                                                                           840 Trademark
          Student Loans (Excludes            355 Motor Vehicle Product             371 Truth in Lending                   Leave Act                                                             Corrupt Organizations
                                                 Liability                                                                                                 SOCIAL SECURITY
          Veterans)                                                                380 Other Personal Property        790 Other Labor Litigation                                            480 Consumer Credit
                                             360 Other Personal Injury                                                                                    861 HIA (1395ff)
     153 Recovery of                                                                   Damage                         791 Employee Retirement                                               485 Telephone Consumer
                                             362 Personal Injury-Medical           385 Property Damage Product                                            862 Black Lung (923)
         Overpayment                                                                                                      Income Security Act                                                   Protection Act
                                                 Malpractice                           Liability                                                          863 DIWC/DIWW (405(g))
     of Veteran’s Benefits                                                                                              IMMIGRATION                                                         490 Cable/Sat TV
     160 Stockholders’ Suits                                                                                                                              864 SSID Title XVI                850 Securities/Commodities/
                                                   CIVIL RIGHTS                   PRISONER PETITIONS                  462 Naturalization
     190 Other Contract                                                                                                                                   865 RSI (405(g))                      Exchange
                                                                                                                          Application
                                             440 Other Civil Rights                  HABEAS CORPUS
      195 Contract Product Liability                                                                                  465 Other Immigration                                                 890 Other Statutory Actions
                                             441 Voting                            463 Alien Detainee                     Actions                        FEDERAL TAX SUITS                  891 Agricultural Acts
      196 Franchise
       REAL PROPERTY                         442 Employment                        510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff or      893 Environmental Matters
                                             443 Housing/                              Sentence                                                                Defendant)
      210 Land Condemnation                                                                                                                                                                 895 Freedom of Information
                                                 Accommodations                    530 General                                                            871 IRS—Third Party 26 USC
      220 Foreclosure                                                                                                                                                                           Act
                                             445 Amer. w/Disabilities-             535 Death Penalty                                                          § 7609
                                                                                                                                                                                            896 Arbitration
      230 Rent Lease & Ejectment                 Employment                                OTHER                                                                                            899 Administrative Procedure
      240 Torts to Land                      446 Amer. w/Disabilities-Other                                                                                                                     Act/Review or Appeal of
                                                                                   540 Mandamus & Other
      245 Tort Product Liability             448 Education                                                                                                                                      Agency Decision
                                                                                   550 Civil Rights
      290 All Other Real Property                                                                                                                                                           950 Constitutionality of State
                                                                                   555 Prison Condition
                                                                                                                                                                                                Statutes
                                                                                   560 Civil Detainee -
                                                                                       Conditions of
                                                                                       Confinement
V.         ORIGIN (Place an “X” in One Box Only)
     1 Original                        2    Removed from              3       Remanded from             4 Reinstated or            5 Transferred from               6      Multidistrict             8 Multidistrict
       Proceeding                           State Court                       Appellate Court             Reopened                   Another District (specify)            Litigation–Transfer         Litigation - Direct File


VI.        CAUSE OF Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
           ACTION   18 U.S.C. § 1030
                                Brief description of cause:
                       Computer Fraud and Abuse Act
VII. REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION DEMAND $                                                                              CHECK YES only if demanded in complaint:
        COMPLAINT:                 UNDER RULE  23, Fed. R. Civ. P. Permanent Injunction and Damages                                                      JURY DEMAND:            Yes      No
VIII. RELATED CASE(S),
                                           JUDGE                                DOCKET NUMBER
        IF ANY (See instructions):
IX. DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)             SAN FRANCISCO/OAKLAND                         SAN JOSE                                                                       EUREKA-MCKINLEYVILLE

DATE 10/29/2019                                               SIGNATURE OF ATTORNEY OF RECORD                                               /s/ Travis LeBlanc


                                                                                                                                                                                          American LegalNet, Inc.
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